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                                     UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF OHIO
                                           EASTERN DIVISION


ELIZABETH A. JORDAN, individually                          )        CASE NO. 5:17-cv-02047
and as Administratrix of the Estate of
Deceased, Wayne K. Jordan,                                 )

                              Plaintiff,                   )        MAGISTRATE JUDGE
                                                                    KATHLEEN B. BURKE 1
v.                                                         )

SUMMIT COUNTY, OHIO                                        )        MEMORANDUM OPINION
and SUMMIT COUNTY BOARD                                             AND ORDER
of COMMISSIONERS, et al.                                   )

                              Defendants.                  )

           This case arises from the suicide of an inmate at the Summit County, Ohio, jail on

February 12, 2016. Four months after being jailed pursuant to an indictment charging him with

rape of a minor and four days before his scheduled trial date, Wayne K. Jordan (“Jordan”)

hanged himself in his cell.

           Jordan’s widow, Plaintiff Elizabeth A. Jordan (“Plaintiff” or “Mrs. Jordan”), individually

and as Administratrix of Jordan’s estate, has filed a Complaint in which she alleges, among other

things, that Defendants Summit County, 2 Summit County Sheriff Steve Barry, two Sheriff’s

Deputies, 3 and unnamed “John Doe” employees of the Summit County jail 4 were deliberately




1
    Pursuant to the consent of the parties, this case was transferred to the undersigned on July 26, 2018. Doc. 16.
2
 The Complaint names as Defendants Summit County, Ohio, and Summit County Commissioners in their official
capacity. Doc. 1, ¶ 13. Defendants note that Summit County has no County Commissioners. Doc. 11, p. 10.
3
    The Defendant Deputies are Steven Scofield (“Scofield”) and Rawney Trunko (“Trunko”).
4
    Plaintiff has sued all individual Defendants in their individual and official capacities.

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indifferent to Jordan’s serious medical needs, leading to his death. She asserts federal and state

law claims and seeks damages. 5

         The parties have not yet taken discovery. Defendants have filed a Motion to Dismiss

(“Motion”), arguing, under Fed. R.Civ. P. 12(b)(6), that Plaintiff has failed to state a claim upon

which relief can be granted and that they are entitled to qualified immunity and state statutory

immunity. Doc. 11. Plaintiff has filed an opposition (Doc. 12) and Defendants have filed a reply

(Doc. 13). In her opposition, Plaintiff requests that Defendants’ motion to dismiss be denied in

its entirety or, alternatively, that she be granted leave to serve and file an amended complaint.

Doc. 12.

         For the reasons explained below, the Motion is GRANTED in part and DENIED in

part. Plaintiff’s request for leave to amend her complaint is DENIED without prejudice.

                                              I.       Background 6

         Plaintiff’s Complaint alleges that Jordan, a 63 year old white male, was arrested on

October 2, 2015, following issuance of a secret indictment alleging six counts of rape and three

counts of gross sexual imposition involving a preteen female over a three-year period. Doc. 1, ¶¶

22, 31, 32. As part of initial health screenings conducted by Summit County Jail employees,

Jordan disclosed that a family member had committed suicide. Doc. 1, ¶ 38. Jordan was

referred for a mental health evaluation. Doc. 1, ¶ 38. On October 14, 2015, an unknown deputy

requested that Jordan be evaluated because the deputy felt that Jordan needed “to be on 1B for



5
 Plaintiff’s Complaint also seeks injunctive relief but, in her opposition to Defendants’ motion to dismiss, Plaintiff
concedes that injunctive relief is not available. Doc. 12, p. 20.
6
  These background facts are taken from the Complaint and attached Exhibits. When ruling on a motion to dismiss,
the court “must accept as true all the factual allegations contained in the complaint.” See Erickson v. Pardus, 551
U.S. 89, 94 (2007) (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555-556 (2007)). Per Fed. R. Civ. P. 10(c),
“a copy of a written instrument that is an exhibit to a pleading is a part of the pleading for all purposes.”


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his safety [due to] his [history] of brain aneurysm & [patient’s] actions like cutting in front of

other inmates.” Doc. 1, ¶ 43 (alterations in original), Doc. 1-6, p. 2. Also, on October 14, 2015,

a deputy (unnamed) requested that Jordan be evaluated because the deputy felt that Jordan was

anxious and depressed and he should not be in general population. Doc. 1, ¶ 44, Doc. 1-7.

Jordan denied homicidal/suicidal ideation but reported being depressed and anxious due to never

having been in jail before. Doc. 1-7. Jordan indicated he was having a hard time adjusting to

being in jail. Doc. 1-7. He was willing to deal with the jail stressors and was open to counseling

on a weekly basis. Doc. 1-7. During the October 14, 2015, evaluation, Jordan disclosed a

psychiatric hospitalization during the prior year “due to making a sarcastic statement about

suicide[.]” Doc. 1-7, p. 3. Following his October 14, 2015, evaluation, Jordan was diagnosed

with adjustment disorder with mixed anxiety and depression and there was a recommendation for

weekly counseling. Doc. 1-7, p. 6. It does not appear that counseling occurred. Doc. 1, ¶¶ 47,

48. Jordan was moved to Pod 1B but not placed on suicide watch. Doc. 1, ¶ 48. Over the next

few months leading up to Jordan’s scheduled trial, he expressed emotional distress and despair

about his situation but denied suicidal/homicidal ideation and was happy that his wife was

supporting him. Doc. 1, ¶¶ 58-62, Doc. 1-8, p. 3.

       Summit County Jail Policies provide that deputies “must observe each inmate on the pod

at least once every twenty (20) minutes and be certain of their well being.” Doc. 1, ¶ 68 (quoting

from Summit County Jail Policy No. 8.2.2, General Housing, effective January 1, 2002). Other

Summit County Jail Policies require more frequent surveillance for mental health housing (at

least every 15 minutes) and potentially suicidal inmates (irregular intervals, not to exceed 10

minutes). Doc. 1, ¶¶ 70, 71.

       On February 12, 2016, Jordan committed suicide by using bedding to hang himself in his



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cell. Doc. 1, ¶ 64. Before the suicide, at 11:20 a.m., Deputy Scofield served a lunch tray to the

inmates in Unit B; Mr. Jordan received his lunch tray. Doc. 1, ¶ 64(a), Doc. 1-1, p. 2 (Report of

Investigation). At 11:50 a.m., the lunch trays were removed and the inmates were placed in

lockup. Doc. 1, ¶ 64(b), Doc. 1-1, p. 2. Deputy Scofield conducted a key tour at 11:52 a.m.,

visually inspected each cell and noted nothing unusual. Doc. 1, ¶ 65(c), Doc. 1-1, p. 2. At 12:33

p.m., 41 minutes after Deputy Scofield had conducted a key tour, Deputy Trunko conducted a

key tour and found Jordan unresponsive in his cell, with his face appearing “blue.” Doc. 1, ¶

65(d), Doc. 1-1, p. 2. Deputy Trunko called Central Control and requested that the cell door be

opened and he called for medical staff to respond. Doc. 1-1, p. 2. Deputy Trunko checked

Jordan for a pulse and found he did not have one. Doc. 1-1, p. 2. Medical staff arrived on scene

at 12:35 p.m. Doc. 1, ¶ 65(e). Once medical staff arrived, Jordan was rolled on his back and a

bed sheet was observed to be wrapped around his neck as a ligature, which was cut by Deputy

Trunko. Doc. 1-1, p. 2. Jordan was moved to the ground and resuscitation efforts were

commenced. Doc. 1, ¶ 65(e), Doc. 1-1, p. 2. The Akron Fire Squad arrived on scene at 12:38

p.m. Doc. 1, ¶ 65(f). Jordan was pronounced dead at 12:54 p.m., the cause of death being listed

as asphyxia due to hanging. Doc. 1-1, pp. 2, 3.

                  II.      Plaintiff’s Complaint and Defendants’ Motion to Dismiss

    A. Plaintiff’s Complaint 7

           1. First cause of action - 42 U.S.C. § 1983 civil rights claim for deliberate
              indifference

         In her first cause of action, Plaintiff alleges that all Defendants acted with deliberate


7
  Plaintiff alleges five causes of action in her Complaint. Doc. 1, pp. 22-26. As noted above, Plaintiff concedes that
injunctive relief, which is requested in her fifth cause of action, is not available. Doc. 12, p. 20. Therefore, the fifth
cause of action will not be discussed further herein and Defendants’ motion to dismiss will be granted as to that
claim.


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indifference to Jordan’s serious medical need of suicidal risk intervention and in violation of his

constitutional rights secured by the Fourteenth Amendment by: (1) failing to place him on any

suicide prevention protocol although Jordan identified a prior suicide attempt and a significant

number of known suicide risk factors, including depression, chronic medical conditions and a

recent prior inpatient psychiatric hospitalization; (2) failing to adequately detect and monitor

Jordan’s worsening mental and emotional status between October 2, 2015, and February 12,

2016, as required under Summit County Jail policies; (3) failing to “observe all inmates” at 20

minutes intervals as required under Summit County Jail Policy No. 8.2.2, General Housing; (4)

failing to respond to Jordan’s medical emergency on February 12, 2016, with reasonable

promptness and care; (5) failing to follow Summit County Jail Policy No. 7.1.0, Suicide

Detection and Response, to immediately cut the blankets and sheets from around Jordan’s neck;

and (6) failing to adequately investigate and punish the acts of the offending individuals who

deprived Jordan of his civil rights. Doc. 1, pp. 22-23, ¶ 84. Plaintiff alleges that Defendants’

actions and omissions as described in the Complaint directly and proximately caused Jordan to

sustain damages and extreme physical and emotional pain and suffering, which led to his death.

Doc. 1, p. 23, ¶ 86.

           2. Second cause of action – 42 U.S.C. § 1983 civil rights claim for failure to train

         In her second cause of action, Plaintiff asserts a § 1983 failure to train claim against

Defendant Barry and other as yet identified defendants with supervisory roles. 8 Doc. 1, p. 24, ¶¶

97-90. Plaintiff alleges that the failure of these defendants to train Jail corrections staff had the

effect of causing and/or ratifying the alleged unconstitutional indifference to Jordan’s condition

and risk of suicide and caused Jordan’s suffering and death. Doc. 1, p. 24, ¶¶ 87-90.


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 “An official capacity claim filed against a public employee is equivalent to a lawsuit directed against the public
entity which that agent represents.” Scott v. Clay County, Tenn., 205 F.3d 867, 879 (6th Cir. 2000).

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            3. Third cause of action – Willful, wanton, and reckless conduct

          Plaintiff’s third cause of action appears to be a state law claim. Plaintiff alleges that the

individual Defendants, while engaged in their functions as employees of the Jail, acted in a

willful, wanton and reckless manner, disregarding the serious risk to Jordan’s rights and safety,

and such conduct was the direct and proximate cause of Jordan’s suffering and death. Doc. 1,

pp. 24-25, ¶¶ 91-92.

            4.    Fourth cause of action – Wrongful death

          In her fourth cause of action, Plaintiff alleges a state law claim for wrongful death,

arguing that Defendants’ actions as described in the Complaint proximately caused Mr. Jordan’s

death. Doc. 1, p. 25, ¶¶ 93-95.

      B. Defendants’ Motion to Dismiss

          In their Motion to Dismiss, Defendants argue that (1) Plaintiff’s Complaint fails to allege

facts showing that Defendants were deliberately indifferent to Mr. Jordan (Doc. 11, pp. 4-7, Doc.

13, pp. 2-8); (2) the individual Defendants are entitled to qualified immunity (Doc. 11, pp. 7-10,

Doc. 13, pp. 8-10); (3) the County Defendant is immune from liability pursuant to Monell 9 (Doc.

11, pp. 10-11, Doc. 13, pp. 10-11); (4) Plaintiff’s Complaint fails to show how Defendant Barry

or the County failed to train the deputies at the Jail (Doc. 11, pp. 11-13, Doc. 13, pp. 11-12); and

(5) Plaintiff cannot succeed on her state law claims because Defendants are entitled to immunity

under O.R.C. Chapter 2744 (Doc. 11, pp. 14-17, Doc. 13, p. 12).

                                            III.    Law and Analysis

          To survive a motion to dismiss under Rule 12(b)(6), a complaint must contain sufficient

factual matter, accepted as true, to “state a claim to relief that is plausible on its face.” Bell



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    Monell v. New York City Dept. of Social Services, 436 U.S. 658, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978).

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Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). See also Ashcroft v. Iqbal, 556 U.S. 662

(2009) (clarifying the plausibility standard articulated in Twombly). The factual allegations of a

pleading must be enough to raise a right to relief above the speculative level. Twombly, 550 U.S.

at 555. The Court must accept all well-pleaded factual allegations as true but need not “accept as

true a legal conclusion couched as a factual allegation.” Id. “Plaintiff's obligation to provide the

grounds of his entitlement to relief requires more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do.” Id. (internal quotation marks

omitted). Nevertheless, while it may be that a plaintiff may not ultimately succeed in proving

her claims, “a well-pleaded complaint may proceed even if it appears ‘that recovery is very

remote and unlikely[.]’ Id. at 556 (quoting Scheuer v. Rhodes, 416 U.S. 232, 236, 94 S.Ct. 1683,

40 L.Ed.2d 90 (1974)).

   A. 42 U.S.C. § 1983

       “To state a claim under § 1983, a plaintiff must allege the violation of a right secured by

the Constitution and laws of the United States, and must show that the alleged deprivation was

committed by a person acting under color of state law.” Gray v. City of Detroit, 399 F.3d 612,

615 (6th Cir. 2005) (quoting West v. Atkins, 487 U.S. 42, 48, 108 S. Ct. 2250, 101 L.Ed.2d 40

(1988)); Watkins v. City of Battle Creek, 273 F.3d 682, 685 (6th Cir. 2001) (“To establish a claim

under 42 U.S.C. § 1983, a plaintiff must ‘identify a right secured by the United States

Constitution and the deprivation of that right by a person acting under color of state law.’”)

(quoting Russo v. City of Cincinnati, 953 F.2d 1036, 1042 (6th Cir. 1992); see also Jerauld v.

Carl, 405 Fed. Appx. 970, 974-975 (6th Cir. Dec. 30, 2010).

       Plaintiff alleges a violation of Jordan’s constitutional rights, arguing Defendants violated

his right to be free from deliberate indifference to a serious medical need, the right to be free


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from cruel and unusual punishment and the right to reasonable medical treatment while detained

so as not to unnecessarily and wantonly inflict pain. Doc. 1, p. 23, ¶ 85, Doc. 12, pp. 8-12 (citing

both Eighth and Fourteenth Amendment protections).

       The individually named Defendants have raised qualified immunity as a defense.

“[Q]ualified immunity shields officials from civil liability if their conduct ‘does not violate

clearly established statutory or constitutional rights of which a reasonable person would have

known.’” Richmond v. Huq, 885 F.3d 928, 947 (6th Cir. 2018) (quoting Pearson v. Callahan,

555 U.S. 223, 231, 129 S.Ct. 808, 172 L.Ed.2d 565 (2009). If qualified immunity applies, it is

“an immunity from suit rather than just a mere defense to liability[.]” Pearson v. Callahan, 555

U.S. 223, 231, 129 S.Ct. 808, 172 L.E.2d 565 (2009). While acknowledging that “insubstantial

claims against government officials should be resolved as early in the litigation as possible,

preferably prior to broad discovery, [the Sixth Circuit] also ha[s] cautioned that it is generally

inappropriate for a district court to grant a 12(b)(6) motion to dismiss on the basis of qualified

immunity[,]” noting that summary judgment is generally the more appropriate time to resolve

qualified immunity. See Courtright v. City of Battlecreek, 839 F.3d 513, 518 (6th Cir. 2016)

(internal quotations and citations omitted); see also Greer v. City of Highland Park, Michigan,

884 F.3d 310, 317 (6th Cir. 2018) (affirming denial of motion for judgment on the pleadings

based on qualified immunity) (citing Courtright, 839 F.3d at 518).

       There are two steps in a Court’s qualified immunity analysis. In Step 1, the Court

decides whether, viewing the allegations in a light most favorable to the party injured, a

constitutional right has been violated. In Step 2, the Court must determine whether that right was

clearly established. Richmond v. Huq, 885 F.3d at 947 (quoting Estate of Carter v. City of

Detroit, 408 F.3d 305, 310–11 (6th Cir. 2005, citing Saucier v. Katz, 533 U.S. 194, 201, 121



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S.Ct. 2151, 150 L.Ed.2d 272 (2001)). “Ultimately, the plaintiff bears the burden of showing that

an officer is not entitled to the defense of qualified immunity.” Courtright, 839 F.3d at 518.

        The Eighth Amendment prohibits “deliberate indifference to serious medical needs of

prisoners [because it] constitutes ‘unnecessary and wanton infliction of pain.’” Estelle v.

Gamble, 429 U.S. 97, 104, 97 S.Ct. 285, 50 L.Ed.2d 251 (1976) (internal citation omitted).

Thus, “[a] prisoner’s Eighth Amendment right is violated when prison doctors or officials are

deliberately indifferent to the prisoner’s serious medical needs.” Comstock v. McCrary, 273

F.3d 693, 702 (6th Cir. 2001) (citing Estelle, 429 U.S. at 103). “[P]rison officials who have been

alerted to a prisoner’s serious medical needs are under an obligation to offer medical care to such

a prisoner.” Comstock, 273 F.3d at 702 (citing Danese, 875 F.2d at 1244).

       Jordan was a pretrial detainee. The Sixth Circuit, along with “other circuits, have held

that the Eighth Amendment cruel and unusual punishment analysis used by the Court in Estelle .

. . is applicable to pretrial detainees.” Danese v. Asman, 875 F.2d 1239, 1243 (6th Cir. 1989)

(full internal citation omitted) (discussing Bell v. Wolfish, 441 U.S. 520, 535 (1979) wherein the

Supreme Court concluded that, “under due process of law, pretrial detainees may not be

punished because they have not yet been judged guilty.”); see also Gray, 399 F.3d at 615-616

(“While the Eighth Amendment does not apply to pre-trial detainees, the Due Process Clause of

the Fourteenth Amendment does provide [pre-trial detainees] with a right to adequate medical

treatment that is analogous to prisoner’s rights under the Eighth Amendment.”) (citing City of

Revere v. Mass. Gen. Hosp., 463 U.S. 239, 244, 103 S.Ct. 2979, 77 L.Ed.2d 605 (1983); Watkins

v. City of Battle Creek, 273 F.3d 682, 685-86 (6th Cir. 2001)).

       With respect to a deliberate indifference claim under the Eighth Amendment, the Sixth

Circuit has explained that:


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        An Eighth Amendment claim has two components, one objective and one
        subjective. [ 10] To satisfy the objective component, the plaintiff must allege that the
        medical need at issue is “sufficiently serious.” Farmer v. Brennan, 511 U.S. 825,
        834, 114 S.Ct. 1970, 128 L.Ed.2d 811 (1994). To satisfy the subjective component,
        the plaintiff must allege facts which, if true, would show that the official being sued
        subjectively perceived facts from which to infer substantial risk to the prisoner, that
        he did in fact draw the inference, and that he then disregarded that risk. Farmer,
        511 U.S. at 837, 114 S.Ct. 1970. Emphasizing the subjective nature of this inquiry,
        the Supreme Court has noted that “an official's failure to alleviate a significant risk
        that he should have perceived but did not, while no cause for commendation, cannot
        under our cases be condemned as the infliction of punishment.” Id. at 838, 114 S.Ct.
        1970 (emphasis added).

Comstock, 273 F.3d at 702-703.

        “[T]o satisfy the objective component of an Eighth Amendment claim, the plaintiff must

allege that the medical need at issue is ‘sufficiently serious.’” Comstock, 273 F.3d at 703

(quoting Farmer, 511 U.S. at 834). Here, Plaintiff alleges that Mr. Jordan’s medical emergency

and psychological needs, including suicidal tendencies, were the medical needs at issue. Doc. 1.

The Sixth Circuit has held that “a prisoner’s ‘psychological needs may constitute serious medical

needs, especially when they result in suicidal tendencies.’” Id. (quoting Horn v. Madison Cty.

Fiscal Ct., 22 F.3d 653, 660 (6th Cir. 1994).



10
   Whether a pretrial detainee has to satisfy the subjective intent element is a question subject to some debate. In
2015, “[t]he Supreme Court in Kingsley v. Hendrickson, — U.S. —, 135 S.Ct. 2466, 192 L.Ed.2d 416 (2015), held
that a pretrial detainee’s Fourteenth Amendment excessive force claim need only meet the objective component of
showing that the ‘force purposely or knowingly used against him was objectively unreasonable.’” Richmond v. Huq,
885 F.3d 928, 938, n. 3 (6th Cir. 2018)) (quoting Kingsley, 135 S.Ct. at 2473). Noting that the Sixth Circuit had
“not yet considered whether Kingsley similarly abrogate[d] the subjective intent requirement of a Fourteenth
Amendment deliberate indifference claim[,]” the Sixth Circuit in Richmond observed “that this shift in Fourteenth
Amendment deliberate indifference jurisprudence call[ed] into doubt whether the” detainee had to satisfy the
subjective component. Id. Notwithstanding the court’s observations, the court in Richmond proceeded to apply the
Eighth Amendment standard. Id. at 938, 939. Also, other cases within the Sixth Circuit have “applied the Eighth
Amendment [deliberate indifference] standard to inadequate-medical-care claims brought by pretrial detainees even
after Kingsley.” Gilmore v. York, 2018 WL 1737120, * 8 (E.D. Mich. Apr. 4, 2018); Phelps v. Tuscarawas County,
Ohio/Tuscarawas County Board of Commissioners, 2018 WL 2234917, * 8, n. 11 (N.D. Ohio May 16, 2018)
(noting that the Sixth Circuit had not yet determined whether Kingsley abrogated the subjective component of a
Fourteenth Amendment deliberate indifference claim). Here, neither party has cited or addressed Kingsley or argued
that Kingsley changed the deliberate indifference standard. Thus, in resolving the pending motion to dismiss, the
Court applies both the objective and subjective components of the Eighth Amendment deliberate indifference
standard as have other courts since Kingsley.

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       The subjective component requires that a plaintiff “allege facts, which if true, would

show that (1) the official being sued subjectively perceived facts from which to infer substantial

risk to the prisoner, (2) that he did in fact draw that inference, and (3) that he disregarded that

risk.” Jerauld, 405 Fed. Appx. at 975-976 (quoting Comstock, 273 F.3d at 703 (internal

quotations omitted). When a plaintiff alleges “deliberate indifference [he] must show more than

negligence or the misdiagnosis of an ailment . .. [but] a plaintiff need not show that the official

acted for the very purpose of causing harm or with knowledge that harm will result.” Comstock,

273 F.3d at 703 (citing Estelle, 429 at 206; Farmer, 511 U.S. at 835; Horn, 22 F.3d at 660)

(internal quotations omitted). Thus, “deliberate indifference to a substantial risk of serious harm

to a prisoner is the equivalent of recklessly disregarding that risk.” Id. (citing Farmer, 511 U.S.

at 836).

       The Sixth Circuit has indicated that the proper inquiry for determining liability under §

1983 for a pretrial detainee’s suicide is “whether the decedent showed a strong likelihood that he

would attempt to take his own life in such a manner that failure to take adequate precautions

amounted to deliberate indifference to the decedent’s serious medical needs.” Russell v. Davis,

522 Fed. Appx. 314, 317 (6th Cir. Apr. 10, 2013) (quoting Barber v. City of Salem, 953 F.2d

232, 239-240 (6th Cir. 1992)).

           1. Individual Defendants

       The two steps of the qualified immunity analysis may be addressed in any order but, if

both steps are not satisfied, then qualified immunity shields an individual government officer

from civil damages. Courtright, 839 F.3d 518. Defendants do not contend that the law that

“prison officials who have been alerted to a prisoner’s serious medical needs are under an

obligation to offer medical care to such a prisoner[,]” (Comstock, 273 F.3d at 702 (citing



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Danese, 875 F.2d at 1244)), was not clearly established at the time of Jordan’s suicide. Thus, the

focus of the Court’s inquiry is on the first prong of the qualified immunity analysis, i.e.,

“whether, considering the allegations in a light most favorable to the party injured, a

constitutional right has been violated.” Richmond, 885 F.3d at 947.

         The Sixth Circuit has also stated that a “plaintiff must allege with particularity ‘facts that

demonstrate what each defendant did to violate the asserted constitutional right.’” Courtright,

839 F.3d at 518 (emphasis in original). Thus, the Court separately considers below the

allegations asserted against each of the individual Defendants 11 to assess whether qualified

immunity applies.

                  a. Defendant Trunko

         The Court concludes that Plaintiff’s Complaint states a plausible constitutional claim for

deliberate indifference as against Deputy Trunko. As alleged in the Complaint, on February 12,

2016, Defendant Trunko found Mr. Jordan unresponsive in his cell at 12:33 p.m. and called for

assistance. Doc. 1, ¶ 65(d). This allegation is sufficient to state a plausible claim that Defendant

Trunko subjectively perceived facts from which to infer a substantial risk to Mr. Jordan and did

draw that inference. Further, Plaintiff alleges that Defendant Trunko failed to respond with

reasonable promptness and care to Mr. Jordan’s medical emergency on February 12, 2016. Doc.

1, ¶¶ 75, 76, 12 84(d). This allegation is sufficient to state a plausible claim that Defendant



11
  As discussed above, Plaintiff has sued the individual Defendants in their individual and official capacity. “An
official capacity claim filed against a public employee is equivalent to a lawsuit directed against the public entity
which that agent represents.” Scott, 205 F.3d at 879.
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  Plaintiff’s Complaint alleges that Deputy Trunko, not Deputy Scofield, discovered Mr. Jordan unresponsive and
the incident report referred to by Plaintiff in ¶ 76 of her Complaint also indicates that Deputy Trunko found Mr.
Jordan. See Doc. 1, ¶ 65(d), Doc. 1-10, p. 3; see also Doc. 12 (Plaintiff’s opposition brief, indicating that Deputy
Trunko found Mr. Jordan). Thus, the reference in ¶ 76 of the Complaint to Deputy Scofield appears to be a
scrivener’s error.


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Trunko disregarded the substantial risk to Mr. Jordan. While Plaintiff ultimately may not

succeed in proving her claims, “a well-pleaded complaint may proceed even if it appears ‘that

recovery is very remote and unlikely[.]’ Twombly, 550 U.S. at 556 (quoting Scheuer v. Rhodes,

416 U.S. 232, 236, 94 S.Ct. 1683, 40 L.Ed.2d 90 (1974)).

       For the reasons stated, the Court DENIES Defendants’ motion to dismiss the individual §

1983 claim against Defendant Trunko (first cause of action) for failure to state a claim and/or

based on qualified immunity.

               b. Defendant Scofield

       The Court concludes that Plaintiff’s Complaint fails to state a plausible constitutional

claim for deliberate indifference as against Deputy Scofield. Plaintiff’s Complaint contains no

factual allegations from which it can plausibly be said that Defendant Scofield “subjectively

perceived facts from which to infer substantial risk to [Jordan.]” Jerauld, 405 Fed. Appx. at 975-

976. With respect to Deputy Scofield, the Complaint alleges only that he served lunch to the

inmates in Jordan’s unit at 11:20 a.m. and conducted a key tour at 11:52 a.m. Doc. 1, ¶¶ 65(a),

(c). These allegations are insufficient to state a plausible claim that Deputy Scofield was

deliberately indifferent to Jordan’s serious medical needs under the subjective component of the

deliberate indifference standard.

       There is no allegation that Deputy Scofield knew that Jordan was at risk of committing

suicide on February 12, 2016. For example, while Plaintiff alleges that, on October 14, 2015,

Jordan disclosed that he was hospitalized approximately six months prior to his arrest for making

statements regarding suicide and that a close family member had committed suicide, Doc. 1, ¶¶




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28, 45, 13 the Complaint does not allege that this information was known by or relayed to Deputy

Scofield. 14 Further, there is no allegation that Jordan relayed an intent to harm himself to Deputy

Scofield or exhibited to Deputy Scofield behaviors from which Scofield would have inferred that

Jordan was at a substantial risk for suicide on February 12, 2016. In fact, the Report of

Investigation attached to Plaintiff’s Complaint indicates that, when Scofield conducted a key tour

at 11:52 a.m., he visually inspected each cell and noted nothing unusual. Doc. 1-1, p. 2.

         Plaintiff relies on her allegations that Jordan had a number of suicide risk factors,

including being a white male, being held on an offense involving sexual assault of a minor,

having no history of prior arrests depression, chronic medical conditions, and recent history of

inpatient hospitalization and suicidal behavior. Plaintiff argues, from these factors, that

Defendants “should have drawn the inference that Mr. Jordan was a suicide risk.” Doc. 12, p.

11 (emphasis supplied). However, those allegations are insufficient to state a plausible claim for

deliberate indifference against Defendant Scofield. 15 As stated by the Supreme Court in Farmer,

“an official’s failure to alleviate a significant risk that he should have perceived but did not,

while no cause for commendation, cannot under our cases be condemned as the infliction of

punishment.” Farmer, 511 U.S. at 838 (emphasis supplied). For instance, courts have rejected


13
  Exhibit F (Doc. 1-7) to the Complaint indicates that Jordan disclosed to a licensed social worker with Summit
Psychological Associates, Inc. that he had a psychiatric hospitalization “due to making a sarcastic statement about
suicide a year ago.” Doc. 1-7, p. 3.
14
  Moreover, courts have found no liability even when there is knowledge of prior suicidal thoughts or statements.
See e.g., Soles v. Ingham, 148 Fed. Appx. 418, 419-420 (6th Cir. 2005) (finding defendants not deliberately
indifferent due to their decision to return decedent to general population where decedent had expressed no suicidal
thoughts for approximately two weeks and exhibited no increased risk for suicide); Ellis v. Washington Cty., Tenn.,
80 F.Supp.2d 791, 800-801 (E.D. Tenn. 1998), affirmed 198 F.3d 225, 227 (6th Cir. 1999) (finding defendant
entitled to qualified immunity where “the most that [could] be said about [defendant] [was] he knew [decedent] had
been suicidal in the recent past.”).
15
  Plaintiff also includes allegations in her Complaint regarding letters Jordan sent to his wife and phone calls that he
had with her. Doc. 1, ¶¶ 59, 62. There is no allegation that the letters were reviewed by the individual Defendants
and, while Plaintiff alleges that the phone calls were recorded, there is no allegation that the individual Defendants
heard the phone calls.

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claims that officials should have been on notice that a detainee was a suicide risk on the basis

that a detainee fit a profile of someone being most likely to commit suicide, finding that, “[j]ail

officials cannot be charged with knowledge of a particular detainee’s high suicide risk based

solely on the fact that the detainee fits a profile of individuals who purportedly are more likely to

commit suicide than those who do not fit the profile in all respects.” Crocker ex rel. Estate of

Tarzwell v. County of Macomb, 119 Fed. Appx. 718, 723 (6th Cir. Jan. 4, 2005); Baker-

Schneider v. Napoleon, 2018 WL 1326296, * 9 (E.D. Mich. Mar. 15, 2018) (“[A] plaintiff cannot

ever establish an officer’s subjective knowledge of an inmate’s risk of suicide based on a profile

of individual’s likely to commit suicide.”) (relying on Crocker, 119 Fed. Appx. at 723).

       Similarly, here, Plaintiff claims that Defendants should have known or should have

drawn an inference, based on generalized “suicide risk factors.” The factual allegations of a

pleading must be sufficient to raise a right to relief above the speculative level. Twombly, 550

U.S. at 555. And, while the Court must accept all well-pleaded factual allegations as true, the

Court need not “accept as true a legal conclusion couched as a factual allegation.” Id.

“Plaintiff's obligation to provide the grounds of his entitlement to relief requires more than labels

and conclusions, and a formulaic recitation of the elements of a cause of action will not do.” Id.

(internal quotation marks omitted). Accordingly, even if true, the Court finds that the allegations

in the Complaint do not state a claim for deliberate indifference against Defendant Scofield.

       Plaintiff’s conclusory allegation that Defendants failed to adequately detect and monitor

Mr. Jordan’s worsening mental and emotional status, Doc. 1, ¶ 84, does not state a claim for

relief under applicable § 1983 case law. The Sixth Circuit has observed, “the right to medical

care for serious medical needs does not encompass the right to be screened correctly for suicidal

tendencies.” Id. (internal quotations omitted) (emphasis supplied); Gray, 399 F.3d at 616


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(indicating that “there is no general constitutional right of detainees to receive suicide screenings

or be placed in suicide safe facilities, unless the detainee has somehow demonstrated a strong

likelihood of committing suicide[]”) (discussing Barber v. City of Salem, Ohio, 953 F.2d 232,

237 (6th Cir. 1992) and citing Danese, 875 F.2d at 1244 and Crocker v. County of Macomb, 199

Fed Appx. 718, 724 (6th Cir. 2005)(unpublished)). Also, the Supreme Court recently held “no

decision of this Court establishes the right to the proper implementation of adequate suicide

prevention protocols.” Taylor v. Barkes, — U.S. —, 135 S.Ct. 2042, 2044, 192 L.Ed.2d 78

(2015); see also Broughton v. Premier Health Care Services, Inc., 656 Fed. Appx. 54, 57 (6th

Cir. July 15, 2016) (quoting Comstock, 273 F.3d at 703 and Taylor, 135 S.Ct. at 2044).

       Nor does Plaintiff’s additional conclusory allegation that Defendants were deliberately

indifferent to Jordan’s serious medical needs because they failed to follow or adequately adhere

to Jail policies, Doc. 1, ¶ 84, state a claim for relief under § 1983. See Barber, 953 F.2d at 240

(“failure to comply with a state regulation is not itself a constitutional violation[]”); see also

Smith v. Eyke, 2011 WL 1528155, * 9 (W.D. Mich. Apr. 20, 2011) (“Defendants’ alleged failure

to comply with a statute, administrative rule, or policy does not itself rise to the level of a

constitutional violation.”) (citing Sixth Circuit cases, including Barber, 953 F.2d at 240).

        For the reasons discussed above, the Court GRANTS Defendant’s motion to dismiss the

individual § 1983 claim against Defendant Scofield (first cause of action) for failure to state a

claim and/or based on qualified immunity.

               c. Defendant Barry

       The Court concludes that Plaintiff’s Complaint fails to state a plausible constitutional

claim for deliberate indifference as against Sheriff Barry. In her opposition brief, Plaintiff states

that “Plaintiff has not alleged that Defendant Barry had any direct responsibility for supervision



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of Mr. Jordan or that he had any greater awareness of a suicide risk tha[n] the defendant

deputies.” Doc. 12, p. 14. Considering this statement, and finding no allegations specific to

Defendant Barry in the Complaint that would state a plausible claim that he was deliberately

indifferent to Jordan’s serious medical needs under the subjective component of the deliberate

indifference standard, the Court GRANTS Defendant’s motion to dismiss the individual § 1983

claim against Defendant Barry (first cause of action) for failure to state a claim and/or based on

qualified immunity.

           2. Municipal Liability Claim against Summit County

          Plaintiff contends that Summit County is liable under § 1983 for failing to properly train

and supervise its staff and for implicitly authorizing, approving, ratifying or acquiescing in

unconstitutional conduct. Doc. 12, pp. 16-18. Unlike individual government officers, “a

municipality is not entitled to qualified immunity.” Barber, 953 F.2d at 237.

          In City of Canton, Ohio v. Harris, the Supreme Court explained that:

          In Monell v. New York City Dept. of Social Services, 436 U.S. 658, 98 S.Ct. 2018,
          56 L.Ed.2d 611 (1978), we decided that a municipality can be found liable under §
          1983 only where the municipality itself causes the constitutional violation at issue.
          Respondeat superior or vicarious liability will not attach under § 1983. Id., at 694–
          695, 98 S.Ct. at 2037–38. “It is only when the ‘execution of the government's policy
          or custom ... inflicts the injury’ that the municipality may be held liable under §
          1983.” Springfield v. Kibbe, 480 U.S. 257, 267, 107 S.Ct. 1114, 1119, 94 L.Ed.2d
          293 (1987) (O'CONNOR, J., dissenting) (quoting Monell, supra, 436 U.S., at 694,
          98 S.Ct. at 2037–38).

City of Canton, Ohio v. Harris, 489 U.S. 378, 385, 109 S. Ct. 1197, 1203, 103 L. Ed. 2d 412

(1989).

          The Supreme Court held that:

          the inadequacy of police training may serve as the basis for § 1983 liability only
          where the failure to train amounts to deliberate indifference to the rights of persons
          with whom the police come into contact.[] This rule is most consistent with our
          admonition in Monell, 436 U.S., at 694, 98 S.Ct., at 2037, and Polk County v.
          Dodson, 454 U.S. 312, 326, 102 S.Ct. 445, 454, 70 L.Ed.2d 509 (1981), that a

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        municipality can be liable under § 1983 only where its policies are the “moving
        force [behind] the constitutional violation.” Only where a municipality's failure to
        train its employees in a relevant respect evidences a “deliberate indifference” to the
        rights of its inhabitants can such a shortcoming be properly thought of as a city
        “policy or custom” that is actionable under § 1983.

City of Canton, 489 U.S. at 388–89 (footnote omitted). In discussing a plaintiff’s failure to train

claim, the Sixth Circuit explained that:

        In order to prevail against a municipality, the plaintiff must show that inadequate
        training represented a city policy and that the need for better training was so
        obvious and the inadequacy so likely to result in a violation of a constitutional
        rights, that the municipality can be said to have been deliberately indifferent to the
        need.

Barber, 953 F.2d at 235-236 (citing City of Canton, 109 S.Ct. at 1204-1205).

        While Plaintiff ultimately may not succeed in proving her claims, “a well-pleaded

complaint may proceed even if it appears ‘that recovery is very remote and unlikely[.]’

Twombly, 550 U.S. at 556 (quoting Scheuer v. Rhodes, 416 U.S. 232, 236, 94 S.Ct. 1683, 40

L.Ed.2d 90 (1974)). At this early stage of the proceedings, the Court finds that Plaintiff has

sufficiently pled a Monell claim.

          For the reasons stated, the Court DENIES Defendants’ motion to dismiss the §1983

claims asserted against Defendant Summit County (first and second causes of action).

    B. State law claims

        Defendants seek dismissal of Plaintiff’s third and fourth causes of action based on state

law immunity.

        Ohio courts use a three-tiered analysis to determine whether a political subdivision is

immune from liability in a tort action. Cramer v. Auglaize Acres, 113 Ohio St.3d 266, 270

(2007) (internal citations omitted). First, there is “the general rule that a political subdivision is

immune from liability incurred in performing either a governmental or proprietary function.” Id.

That immunity is not absolute. Id. Second, the court looks at whether any of the five exceptions

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to immunity contained in R.C. § 2744.02(B) apply to open the political subdivision up to

liability. Id. If any of the exceptions to immunity in R.C. § 2744.02(B) apply and if there is no

defense within that section that protects the political subdivision from liability, then the third step

requires the court to assess whether any of the defenses under R.C. § 2744.03 apply. Id.

       Defendants contend that there are no exceptions to immunity under R.C. § 2744.02(B)

and therefore Summit County, a political subdivision, is immune from liability, pointing out that

the exception in R.C. § 2744.02(B)(4) pertaining to injury or death caused by negligence of the

political subdivision’s employees that occurs within or on the grounds of buildings used in

connection with the performance of a governmental function excludes jails. Plaintiff does not

raise a specific challenge to Defendants’ argument that the political subdivision itself is entitled

to immunity under R.C. § 2744.02; she argues that Defendants ignore that she is not arguing that

Defendant’s employees were merely negligent but rather that the Defendant’s employees’

conduct was wanton and reckless. Doc. 12, p. 19. As discussed below, the allegation that the

Defendant employees acted wantonly or recklessly pertains to whether the individual Defendants

are entitled to statutory immunity. The Court finds that Plaintiff’s state law claims should be

dismissed against Defendant Summit County based on the statutory immunity found in R.C. §

2744.02 (third and fourth causes of action).

       As it pertains to individual employees of a political subdivision, the immunity analysis is

different. Cramer, 113 Ohio St.3d at 270. Instead of the three-tiered analysis, a court looks at

R.C. § 2744.03(A)(6). Id.; see also Gattrell v. Utica, 63 N.E.2d 461, 470 (5th Dist. 2016).

Under R.C. § 2744.03(A)(6), “an employee is immune from liability unless the . . . employee’s

acts or omissions were malicious, in bad faith, or wanton or reckless . . .” Cramer, 113 Ohio

St.3d at 270. (citing R.C. § 2744.03(A)(6)). Having concluded that Defendant Trunko is not



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entitled to qualified immunity on the § 1983 deliberate indifference claim and considering that

Plaintiff’s Complaint alleges that the individual Defendants’ acts or omissions were done in a

wanton or reckless manner, the Court finds that Plaintiff’s state law claims against Defendant

Trunko in his individual capacity are not subject to dismissal at this juncture (third and fourth

causes of action). However, for reasons similar to those discussed above in connection with

Plaintiff’s § 1983 claims against Defendants Scofield and Barry, the Court finds that the state

law claims against those Defendants should be dismissed based on state law immunity (third and

fourth causes of action).

                    IV. Plaintiff’s Request for Leave to Amend Complaint

       In her opposition brief, Plaintiff requests that, if the Court “is persuaded to dismiss all or

any part of [Plaintiff’s] Complaint that Plaintiff be permitted to file an Amended Complaint to

cure any defects in the pleading.” Doc. 12, p, 20.

       While Fed. R. Civ. P. 15(a)(2), provides that a “court should freely give leave when

justice requires[,]” a request for an order granting leave to amend, as any motion, must comply

with Fed. R. Civ. P. 7 and “state with particularity the grounds for seeking the order[.]” See e.g.,

Tumminello v. Father Ryan High School, Inc., 678 Fed. Appx. 281, 289-290 (6th Cir. Jan. 30,

2017) (affirming district court’s denial of plaintiff’s request for leave to amend submitted in

response to a motion to dismiss where the request did not state the grounds for seeking the order

and where the court did not know the substance of the proposed amendment).

       Here, Plaintiff has not filed a motion. Nor has she stated the grounds for seeking leave to

amend or apprised this Court of the specifics of how she proposes to amend her Complaint.

Accordingly, the Court DENIES without prejudice Plaintiff’s request for leave to amend her

complaint, because the Court is unable to find that justice requires granting such leave. Id. (“[I]n



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order to determine whether justice requires the granting of a motion to amend, the court must

know the substance of the proposed amendment.”). In making this ruling, the Court notes that

Plaintiff has included John Doe Defendants in Complaint. Recognizing that discovery has not

yet commenced, the Court intends, at the Case Management Conference, to provide a deadline

by which Plaintiff will be required to seek leave to amend her Complaint to identify the John

Doe Defendants and set forth her claims against those defendants.

                                           V. Conclusion

       For the reasons explained herein, Defendants’ motion to dismiss is GRANTED in part

and DENIED in part. Defendants’ motion to dismiss the first cause of action is DENIED as to

Defendant Trunko in his individual capacity and GRANTED as to Defendants Scofield and

Barry in their individual capacities based on failure to state a claim for relief and/or qualified

immunity. Defendants’ motion to dismiss the first and second causes of action as to Defendant

Summit County is DENIED. Defendants’ motion to dismiss the third and fourth causes of

action as to Summit County and Defendants Scofield and Barry in their individual capacities is

GRANTED based on state law immunity. Defendants’ motion to dismiss the third and fourth

causes of action as to Defendant Trunko in his individual capacity is DENIED. Defendants’

motion to dismiss the fifth cause of action is GRANTED. Plaintiff’s request for leave to amend

her complaint is DENIED without prejudice.



September 11, 2018                                       /s/ Kathleen B. Burke
                                                       _______________________________
                                                       Kathleen B. Burke
                                                       United States Magistrate Judge




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